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               IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT
        Appalachian Voices, et al.,                 )
                                                    )
                                  Petitioners,      )
                                                    )
                   v.                               )     Nos. 24-1650, 24-1748,
                                                    )          24-1751, 24-1756,
        Federal Energy Regulatory                   )          24-1758, 24-1760,
             Commission,                            )          24-1765, 24-1770,
                                                    )          24-1785, 24-1792
                             Respondent.            )          (consolidated)
        _____________________________               )________________________

                       UNOPPOSED MOTION OF THE
                FEDERAL ENERGY REGULATORY COMMISSION
               TO HOLD PETITIONS FOR REVIEW IN ABEYANCE

              Pursuant to Rule 27 of the Federal Rules of Appellate Procedure,

        Respondent Federal Energy Regulatory Commission (“Commission” or

        “FERC”) moves this Court, without opposition, to hold the

        above-captioned petitions for review in abeyance, with motions to

        govern due January 6, 2025.

              The Court set a date of August 26, 2024 for filing the agency

        record in the first (No. 24-1650) of these consolidated cases. The

        Commission’s requested relief would defer all filing deadlines—

        including filing of the agency record—until after the abeyance period
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        expires. The relief requested is without prejudice to any party filing

        procedural or substantive motions, as appropriate, in the interim.

              The Commission anticipates that abeyance will allow for

        completion of the statutorily mandated Commission rehearing process.

        See 16 U.S.C. § 825l. In particular, it will afford FERC the time

        necessary to respond to the approximately 50 applications for agency

        rehearing of the Commission’s May 13, 2024-issued Order No. 1920—an

        unusually large volume of rehearing requests that raise numerous

        objections. See Building for the Future Through Electric Regional

        Transmission Planning and Cost Allocation, Order No. 1920, 187 FERC

        ¶ 61,068, reproduced at 89 Fed. Reg. 49,280 (June 11, 2024). The

        Commission has indicated its intent to respond to those objections in a

        reasoned rehearing order. See “Notice of Denial of Rehearing by

        Operation of Law and Providing for Further Consideration,” 188 FERC

        ¶ 62,025 (July 15, 2024).




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              Counsel for the Commission has contacted counsel for Petitioners 1

        and Movant-Intervenors in these appeals. There is no known

        opposition to the relief requested in this motion.2



        1     Petitioners in the appeals consolidated under lead case
        No. 24-1650 (4th Cir.) are: Appalachian Voices, Energy Alabama, North
        Carolina Sustainable Energy Association, Southern Alliance for Clean
        Energy, South Carolina Coastal Conservation League (No. 24-1650);
        Natural Resources Defense Council, Inc. (No. 24-1748); Advanced
        Energy United, American Clean Power Association, Solar Energy
        Industries Association (No. 24-1751); Invenergy Solar Development
        North America LLC, Invenergy Thermal Development LLC, Invenergy
        Wind Development North America LLC, Invenergy Transmission LLC
        (24-1756); State of Texas (No. 24-1758); State of Georgia, Georgia Public
        Service Commission (No. 24-1760); Environmental Defense Fund
        (No. 24-1765); Louisiana Public Service Commission, Mississippi Public
        Service Commission (No. 24-1770); Public Utilities Commission of
        Ohio’s Office of the Federal Energy Advocate, Public Service
        Commission of West Virginia (No. 24-1785); and ITC Midwest
        (No. 24-1792).
             Sierra Club is also a Petitioner whose petition—filed in the Ninth
        Circuit (No. 24-4388)—has not yet been consolidated in the Fourth
        Circuit, pursuant to the August 8, 2024 order of the Judicial Panel on
        Multidistrict Litigation (“JPML”) consolidating all petitions challenging
        Order No. 1920 in this Court. See Consolidation Order, MCP No. 190
        (JPML Aug. 8, 2024).
        2    Petitioners’ positions on the requested abeyance are as follows:
        Natural Resources Defense Council, Inc., Environmental Defense Fund,
        Appalachian Voices, Energy Alabama, North Carolina Sustainable
        Energy Association, Southern Alliance for Clean Energy, and South
        Carolina Coastal Conservation League consent; ITC Midwest and
        Public Utilities Commission of Ohio’s Office of the Federal Energy
        Advocate do not oppose; and Invenergy Solar Development North


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                                   BACKGROUND

              This matter has garnered broad public interest. Eleven petitions

        for review of FERC Order No. 1920 were filed in nine courts of appeals,

        and more may be forthcoming. In addition, the Commission has

        received approximately 50 applications for agency rehearing of the

        Order—an unusually large volume.

              1. The current procedural posture of the Order No. 1920 appeals

        is fluid and evolving. Pursuant to 28 U.S.C. § 2112(a), the Commission

        noticed the various petitions for review of Order No. 1920 with the

        Judicial Panel on Multidistrict Litigation (“JPML”). On August 8, 2024,

        the JPML randomly selected the Fourth Circuit as venue for all




        America LLC, Invenergy Thermal Development LLC, Invenergy Wind
        Development North America LLC, Invenergy Transmission LLC, State
        of Texas, State of Georgia, and Georgia Public Service Commission take
        no position.
              Movant-Intervenors’ positions on the requested abeyance are as
        follows: First Energy Transmission Companies, Maryland Public
        Service Commission, and Michigan Public Service Commission
        consent; PJM Interconnection, L.L.C., MISO Transmission Owners,
        Resale Power Group of Iowa, PPL Electric Utilities Corporation, Large
        Public Power Council, Dominion Energy Services, Inc., and Michigan
        Public Power Agency do not oppose; and National Association of
        Regulatory Utility Commissioners takes no position.



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        petitions filed in the various circuits, see Consolidation Order, MCP

        No. 190 (JPML Aug. 8, 2024), which also means that the agency record

        is properly filed with this Court, 28 U.S.C. § 2112(a)(3). Most courts

        (except the Ninth Circuit) have since transferred their petitions to this

        Court. See 28 U.S.C. § 2112(a)(5).

              2. The Federal Power Act permits judicial review of a FERC order

        only after “compl[ying] with th[e] [Act’s] unusually strict exhaustion

        requirement.” Ameren Servs. Co. v. FERC, 893 F.3d 786, 793 (D.C. Cir.

        2018) (cleaned up). A party must state with “specificity” all objections

        “before the Commission in [an] application for rehearing” of an initial

        FERC order as a prerequisite to seeking judicial review of “such order.”

        Id. (quoting 16 U.S.C. § 825l(b)) (cleaned up).

              The rehearing process serves several functions: It (1) recognizes

        FERC’s primary jurisdiction to “correct its own errors” in an initial

        order, Save Our Sebasticook v. FERC, 431 F.3d 379, 381 (D.C. Cir.

        2005); Granholm ex rel. Mich. Dep’t of Nat. Res. v. FERC, 180 F.3d 278,

        281 (D.C. Cir. 1999); (2) “afford[s] the Commission an opportunity to

        bring its knowledge and expertise to bear on an issue before it is

        presented to a generalist court,” Nw. Pipeline Corp. v. FERC, 863 F.2d



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        73, 77–78 (D.C. Cir. 1988); and (3) promotes judicial efficiency by

        potentially narrowing the issues a court must decide or “obviat[ing] the

        need for [judicial] review” altogether, Clifton Power Corp. v. FERC, 294

        F.3d 108, 111–12 (D.C. Cir. 2002).

              The Commission retains jurisdiction to modify its initial order

        through an order on rehearing until it files the agency record with the

        court of appeals. 16 U.S.C. § 825l(a)–(b). Upon record filing, the court

        obtains “exclusive” jurisdiction “to affirm, modify, or set aside such

        [Commission] order in whole or in part.” 16 U.S.C. § 825l(b); see Berkley

        v. FERC and Mountain Valley Pipeline, LLC, 896 F.3d 624, 630 (4th

        Cir. 2018) (Natural Gas Act 3) (“Congress gave ‘exclusive’ jurisdiction to

        the appropriate court of appeals—but only after going through the

        review process with FERC.”).

              Federal Rule of Appellate Procedure 17(a) sets a generic date for

        record filing of 40 days from the date a petition for review is filed.

        However, “[t]he court may shorten or extend the time to file the record”


        3    It is well-established that “the relevant provisions of the [Federal
        Power Act and Natural Gas Act] are analogous,” meaning “[t]h[e]
        [Supreme] Court has routinely relied on [Natural Gas Act] cases in
        determining the scope of the [Federal Power Act], and vice versa.”
        Hughes v. Talen Energy Mktg., LLC, 578 U.S. 150, 164 n.10 (2016).

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        to allow the Commission an opportunity to complete the rehearing

        process. See Fed. R. App. P. 17(a); Allegheny Defense Project v. FERC,

        964 F.3d 1, 17 (D.C. Cir. 2020) (en banc) (contemplating motions to

        extend the record filing date beyond 40 days from the date a petition for

        review is filed, and noting that the court of appeals had allowed the

        Commission nine months to file the agency record in that case). And

        until the Commission files the agency record with the court, “[it] may at

        any time, … in such manner as it shall deem proper, modify or set

        aside, in whole or in part, any finding or order made or issued by it

        under the provisions of this chapter.” 16 U.S.C. § 825l(a). Thus, courts

        routinely hold petitions challenging FERC orders in abeyance and set a

        record filing date that affords the Commission time—often several

        months—to issue a substantive rehearing order.

                                      ARGUMENT

              The Commission respectfully requests—and no party (or

        movant-intervenor) opposes—that the Court hold these consolidated

        petitions (and any future petitions that are so consolidated) in abeyance

        for approximately 4.5 months, until January 6, 2025. The requested




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        relief would suspend all parties’ filing deadlines, including the current

        August 26, 2024 deadline for the Commission to file the agency record.

              The requested abeyance is reasonable under the circumstances.

        The Commission has received approximately 50 applications for agency

        rehearing of Order No. 1920 that raise numerous objections—objections

        that the Commission is diligently assessing and will respond to in a

        forthcoming rehearing order. Cf. Berkley, 896 F.3d at 631 (Natural Gas

        Act) (explaining that the statute does not time-limit FERC’s ability to

        “finally decide petitions for rehearing”). Allowing the rehearing process

        to reach fruition ensures that this Court will have the full benefit of the

        Commission’s “knowledge and expertise … on an issue before it is

        presented to a generalist court.” Nw. Pipeline, 863 F.2d at 77–78. It

        also has the potential to “obviate the need for [judicial] review” in part,

        or even altogether, should the Commission redress some or all of

        Petitioners’ alleged grievances. Clifton Power, 294 F.3d at 111–12.

        Accordingly, this Court has, in the past, “declined to review non-final

        orders that,” like Order No. 1920, “can[] be altered by subsequent

        administrative action of the Commission.” Consol. Gas Supply Corp. v.

        FERC, 611 F.2d 951, 959 (4th Cir. 1979) (cleaned up).



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              An approximately 4.5-month abeyance falls comfortably within

        the range of periods approved in matters involving fewer parties and

        fewer requests for rehearing. 4 And it is commensurate with the

        abeyance requested and approved in another set of appeals—concerning

        the FERC Order No. 2023 rulemaking and similarly following random

        circuit selection by the JPML—that also garnered broad public interest

        on rehearing. See generally Advanced Energy United v. FERC,

        Nos. 23-1282, et al. (D.C. Cir.).




        4     See, e.g., Order, Nos. 21-3068, et al. (3d Cir.), Doc. 82 (Dec. 21,
        2021) (ordering record filing nearly four months after first petition for
        review filed); Order, Nos. 21-1090, et al. (D.C. Cir.), Doc. 1922604 (Nov.
        16, 2021) (nine-month period); Order, Nos. 20-1449, et al. (D.C. Cir.),
        Doc. 1885666 (Feb. 17, 2021) (3.5-month period); Order, No. 20-1457
        (consolidated with No. 20-1238) (D.C. Cir.), Doc. 1871755 (Nov. 18,
        2020) (six-month period); Allegheny Defense, 964 F.3d at 17 (nine-month
        period).

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                                     CONCLUSION

              For the foregoing reasons, the Commission respectfully requests,

        without opposition, that the Court hold the above-captioned

        consolidated petitions for review—and any additional petitions—in

        abeyance, with motions to govern due January 6, 2025.



                                                  Respectfully submitted,

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                                                  /s/ Jared B. Fish___________
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        August 22, 2024




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                           CERTIFICATE OF COMPLIANCE

               Pursuant to Fed. R. App. P. 32(c)(1), (g)(1), I certify that this

        motion complies with the type-volume limitation of Fed. R. App.

        P. 27(d)(2) because this motion contains 1,739 words, excluding the

        parts exempted by Fed. R. App. P. 32(f).

               I further certify that this motion complies with the type-face

        requirements of Fed. R. App. P. 32(a)(5) and the type-style

        requirements of Fed. R. App. P. 32(a)(6) because this motion has been

        prepared in Century Schoolbook 14-point font using Microsoft Word

        365.




                                                    /s/ Jared B. Fish___________
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                             CERTIFICATE OF SERVICE

              In accordance with Fed. R. App. P. 25(d), I hereby certify that I

        have, on August 22, 2024, served the foregoing upon the counsel listed

        in the Service Preference Report via email through the Court’s CM/ECF

        system.



                                                  /s/ Jared B. Fish___________
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